                        Case 4:19-cr-40033-TSH Document 1 Filed 08/01/19 Page 1 of 1
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                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                  IRUWKH
                                                        District of Massachusetts
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                  8QLWHG6WDWHVRI$PHULFD
                             Y
                                                                             &DVH1R PM'++
                       3DVTXDOH 7 6DODV



                            Defendant(s)


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          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                -DQXDU\  XQWLO 0D\        LQWKHFRXQW\RI             :RUFHVWHU       LQWKH
                        'LVWULFWRI          0DVVDFKXVHWWV       WKHGHIHQGDQW V YLRODWHG

              Code Section                                                     Offense Description
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          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
3OHDVHVHHDWWDFKHGDIILGDYLWE\)%,6SHFLDO$JHQW$GDP6WURGH




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u


                                                                                                Complainant’s signature

                                                                                         )%,6SHFLDO$JHQW$GDP6WURGH
                                                                                                 Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH


'DWH           Aug 1, 2019
                                                                                                   Judge’s signature
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&LW\DQGVWDWH                   :RUFHVWHU 0DVVDFKXVHWWV                         86 0DJLVWUDWH -XGJH 'DYLG
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                                                                                                          DYLG    +HQQ
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                                                                                                 Printed name and title
